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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE: ESTATE OF FERDINAND E. MARCOS -HUMAN RIGHTS LITIGATION.
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OEFENDANT

pocket No, MBL 840 __

| pace 96 of PAGES
b
DATE NR. | PROCEEDINGS
1999
Apr 1 1801 | PROOF of Claim Form for Torture Victims by Jose L. Gomez, Jr.
1802 | PROOF of Claim Form for Torture Victims by Cenon de la Cruz, Deceased by Teresita
de la Cruz
1803 | PROOF of Claim Form for Torture Victims by Teodoro Layug, Deceased by Consolacion
L. Palaganas
1804 | PROOF of Claim Form for Torture Victims by Marcelino L. Calpito, Deceased by
Violeta A. Calpito
1805 | PROOF of Claim Form for Torture Victims by Carlito G. Mania
1806 | PROOF of Claim Form for Torture Victims by Bernardo M. Pineda
1807 PROOF of Claim Form for Torture Victims by Carlito B, Mananquil
1808 | PROOF of Claim Form for Torture Victims by Rodolfo Liceta, Deceased by Dominga
G. Liceta
(1809 | PROOF of Claim Form for Torture Victims by Felimon L. Laquian
1810 (PROOF of Claim Form for Torture Victims by Norberto David, Deceased by Adelaida
Y. David
/1811 | PROOF of Claim Form for Torture Victims by Ruben M. Angeles
/1812 | PROOF of Claim Form for Torture Victims by Jose de la Cruz
1813 | PROOF of Claim Form for Torture Victims by Roberto Cabasarez
1814 | PROOF of Claim Form for Torture Victims by Ellezer L, Laquian
1815 (PROOF of Claim Form for Torture Victims by Castor B. Angeles, Deceased by Narcisa
Mania Angeles
1816 =PROOF of Claim Form for Torture Victima by Antonio B. Mananquil
1817 | PROOF of Claim Form for Torture Victims by Alfredo Vv. Sampang, Deceased by
Florante Sampang
1818 | PROOF of Claim Form for Torture Victims by Pablo Matias
1819 | PROOF of Claim Form for Torture Victims by George Blanco Plamas
1820 | PROOF of Claim Form for Torture Victims by Nicolas B. Sangil, Jr.
1821 | PROOF of Claim Form for Torture Victims by Herminigilda §. Echavia
1822 | PROOF of Claim Form for Torture Victims by Quirico Fresnoza Leyva, Jr.
1823 | PROOF of Claim Form for Torture Victims by Victor S$. Sulit
1824 PROOF of Claim Form for Torture Victims by Edmundo Tablan
| 1825 PROOF of Claim Form for Torture Victims by Denny T. Caballer
1826 | PROOF of Claim Form for Torture Victims by Modesto N. Baniao
1827 | PROOF of Claim Form for Torture Victims by Isaac de Guzman, Jr., Deceased by
Edith M. de Guzman
1828 PROOF of Claim Form for Torture Victims by Antonio Patingo Tantioce
[1829 | PROOF of Claim Form for Torture Victims by Mary Pilar Verzosa
|1830 | PROOF of Claim Form for Torture Victims by eduardo E. Blanco
1831 | PROOF of Claim Form for Torture Victims by Ricardo C. Jarata
1832 | PROOF of Claim Form for Torture Victims by Benifacio c. Defamente, Jr.
1833 | PROOF of Claim Form for Torture Victims by Arthur R. Castillo
1834 | PROOF of Claim Form for Torture Victims by Jesus C. Bernandino
1835 | PROOF of Claim Form for Torture Victims by Felixberto R. Rebuillido
1836 | PROOF of Claim Form for Torture Victims by Danilo V. Magallanes
1837 | PROOF of Claim Porm for Torture Victims by Rodolfo P. Bayani, Deceased by Victor
P. Bayani
1838 | PROOF of Claim Form for Torture Victims by Roberto £. Reyes
1839 PROOF of Claim Form for Torture Victims by Amado P. Punsalan
1840 | PROOF of Claim Form for Torture Victims by Diosdado B. Bulan
1841 PROOF of Claim Form for Torture Victims by Eliseo D. Enriquez
1842 (PROOF of Claim Form for Torture Victims by Alberto L. Planas, Sr., Deceased by
Jose B. Planas
See Page 97

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF CEFENDANT

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IN RE: ESTATE OF FERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION
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| DocKET NO. MDL 840

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PROCEEDINGS

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DATE NR.
1999
Apr 1 1843 | PROOF of Claim Form for Torture Victims by Policarpio A. Rosales, Deceased by
Noel M. Rosales
1844 | PROOF of Claim Form for Torture Victims by Fernando Aguilar Cutab
1845 | PROOF of Claim Form for Torture Victims by Daniel L. Olan
1846 | PROOF of Claim Form for Torture Victime by Francisco M. Sitchon
1847 | PROOF of Claim Form for Torture Victims by Erlinda P. Magapagal
1848 | PROOF of Claim Form for Torture Victims by Maximo S. Bandelaria
1849 | PROOF of Claim Form for Torture Victims by Roberto §. Delfin
1850 | PROOF of Claim Form for Torture Victims by Nymia Pimentel Simbulan
1851 | PROOF of Claim Form for Torture Victims by Ernesto A. Macapinlac
1852 | PROOF of Claim Form for Torture Victims by Cherry Laquita Baplor
1853 | PROOF ef Claim Form for Torture Victime by Fortunato A. Pelaez, Jr.
1854 | PROOF of Claim Form for Torture Victims by Edward M. Gerlock
1855 | PROOF of Claim Form for Torture Victims by Fernando Aguilar Cutab
1856 | PROOF of Claim Form for Torture Victims by Crispin N. Corpuz
1857 | PROOF of Claim Form for Torture Victims by Tomas Encomienda, Deceased by Angelina
Montilla
1858 | PROOF of Claim Form for Torture Victims by Damaso $. De La Cruz
1859 | PROOF of Claim Form for Torture Victims by Elizabeth Carreon-Villa
1860 | PROOF of Claim Form for Torture Victims by Jose Balnco Planas
1861 | PROOF of Claim Form for Torture Victims by Salvador L. Gomez
1862 | PROOF of Claim Form for Torture Victims by Juan P. Dizon, Jr., Deceased by Lydia |
Dizon
1863 | PROOF of Claim Form for Torture Victims by Perrel Angeles, Deceased by Gloria 6G.
Angeles
1864 | PROOF of Claim Form for Torture Victims by Menecio Gomez, Deceased by Aurora Gome
Barin
1865 | PROOF of Claim Form for Torture Victims by Alexander Jacobe Labado
1866 | PROOF of Claim Form for Torture Victims by Danilo Luis M. Mariano
1867 | PROOF of Claim Form for Torture Victims by Francisco L. Manalo ~
1868 | PROOF of Claim Form for Torture Victims by Bonifacio N. Padilla
1869 | PROOF of Claim Form for Torture Victims by Cezar FP. David
1870 | PROOF of Claim Form for Torture Victims by Rieardo C. Nacci
1871 | PROOF of Claim Form for Torture Victims by Paulito A. Reyes
1872 | PROOF of Claim Form for Disappearance Victims by Kisam Luciano
1873 | PROOF of Claim Form for Disappearance Victims by Gumaling Abedin by H. Zainab
Abas Vda de Abedin
1874 | PROOF of Claim Form for Disappearance Victims by Ignes Marato by Wilfredo 8. Marat
1875 | PROOF of Claim Form for Disappearance Victims by Abelardo Malonzo
1876 | PROOF of Claim Form for Disappearance Victims by Manuel L. Bognot
1877 | PROOF of Claim Form for Disappearance Victims by Rufino Manarang by Teresita
Bulato Manarang
1878 | PROOF of Claim Form for Disappearance Victims by Lucilo Wyco by Amado Wyco
1879 | PROOF of Claim Form for Disappearance Victims by Federice M. Angeles
1880 | PROOF of Claim Form for Disappearance Victims by Leoanrdo ¢. Dagus by Cresencio
Dagus Sr.
1881 | PROOF of Claim Form for Disappearance Victims by Eladio M. Neri
1882 | PROOF of Claim Form for Disappearance Victims by Jim Gambiana by Joseph Gambiana
1883 | PROOF of Claim Form for Disappearance Victims by Clite C. Bartolo by Nuncia B,

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Civil. DOCKET CONTINUATION SHEET.

PLAINTIFF

[IN RE: ESTATE OF FERDINAND E. MARCOS

DEFENDANT

HUMAN RIGHTS LITIGATION

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| DOCKET No: MDL 840 _

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DATE NR. | PROCEEDINGS
1999
Apr 1 1884 | PROOF of Claim Form for Disappearance Victims by Renato Lago Bucag by Jorgia
Josie Bucag
1885 | PROOF of Claim Form for Disappearance Victims by Lasula Nicanor by Necahor Lasula
1886 | PROOF of Claim Form for Disappearance Victims by Esmael G. Matabalao
1887 PROOF of Claim Form for Disappearance Victims by Usman-Dumpao by James Dumpao
1888 | PROOF of Claim Form for Disappearance Victims by Miguel S. Albiso by Petronila
§. Albiso
1889 | PROOF of Claim Form for Disappearance Victims by Rolando Mait Diamban by Epepania
Diamban
1890 | PROOF of Claim Form for Disappearance Victims by Sebastian Marquez Matibag,
Deceased by Jose Reyes Matibag
1891 PROOF of Claim Form for Disappearance Victims by Isidro E. Adoptante, Sr by
Leonora V. Adoptante
1892 PROOF of Claim Form for Disappearance Victims by Semon E. Adoptante by Felisa
G. Adoptante
1893 | PROOF of Claim Form for Disappearance Victims by Semon E. Adoptante by Felisa
§. Adoptante
(1894 PROOF of Claim Form for Disappearance Victims by Esterlito Saganay by Melanio
, Saganay
1895 | PROOF of Claim Form for Summary Execution Victims by Capas Tarlac Talaga by
Filomena Mercardo Daxin
1896 | PROOF of Claim Form for Summary Execution Victims by Juaquin Feliciano by Federica
Feliciano
1897 | PROOF of Claim Form for Summary Execution Victims by Raymund Arcilla by Elenita
Arcilla
1898 | PROOF of Claim Form for Summary Execution Victims by Alfredo Manaloto by Marites
Mallari
1899 | PROOF of Claim Form for Summary Execution Victims by Carlito de la Cruz by
Carolina Santos de la Cruz
1900 | PROOF of Claim Form for Summary Execution Victims by Servillano G, Bognot by
Thomas Bognot
1901 | PROOF of Claim Form for Summary Execution Victims by Rogelio H. Miranda by
Virginia Miranda
1902 | PROOF of Claim Form for Summary Execution Victims by Alexander Dimacali Pabustan
1903 | PROOF of Claim Form for Summary Execution Victims by Norberto H. Acebedo by
Andrea H. Acebedo
1904 | PROOF of Claim Form for Summary Execution Victims by Reynaldo Mallari by Julia A.
Mallari
1905 | PROOF of Claim Form for Summary Execution Victims by Corazon Macasaquit Cunahan
by Corazon M. CUnahan
1906 |} PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Linda A. Ferrer-Valmonte
1907 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Nolasco Buhay
1908 | PROOF of Claim Form by Manuel P. Tingson
1909 PROOF of Claim Form by Dominga 0. Buniel
1910 | Statement by Eduardo Genol
1911 (Statement by Felifa Talaro
1912 |Statement by Leonsia Tuan
1913 |Statement by Liberata Cedeno

1914

Statement by Qurino Panorel

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Civil, DOCKET CONTINUATION SHEET
PLAINTIFF OEFENDANT

IN RE: ESTATE

OF FERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION

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Pace 99 of PAGES

DATE NR, PROCEEDINGS
1999
Apr 1 1915 | Statement by Estanislao Sambog
1916 | Statement by Nenita Calapiz
1917 | Statement by Calvin Gandamon
1918 | Statement by Jacinto Calasang
1919 | Statement by Conchita Camingawan Rogal
1920 | Statement by Rogelio Calapiz
1921 | Statement by Elmie Rivera
1922 | Statement by Cepriano Capundag
1923 | Statement by Emeliana Pausal Orcullo
1924 | Statement by Genovevo Loquias
1925 | Statement by Inocencia Baco Pekit
1926 Statement by Blecila L. Acbayan
1927 | Statement by Juan A. Paquera
1928 Statement by Guillerma L. Pelare
1929 | Statement by Ester B. Ynot
1930 | Statement by Nestor C. Montemor
1931 | Statement by Ludie Gallardo-Montemor
1932 Statement by Maria Calderon
1933 | Statement by Esterlita Dionaldo
1934 | Statement by Said Mamento
1935 | Statement by Jimmy Suguitan
1936 | Statement by Floro A, Capulas
1937 | Statement by Maurisio Salay
1938 | Statement by Datu Unting Dampatuan
1939 | Statement by Emerenciana A. Pra jes
1940 | Statement by Paquita Lunzaga
1941 | Statement by Luis Cambronero Jr.
1942 | Statement by Antonio Capulas
1943 | Statement by Tomas Capulas
1944 | Statement by Roberto B. Sepricto
1945 | Statement by Helen Suan Orcullo
2 1946 | PROOF of Claim Form for Torture Victims by Warlito Vuclan
1947 | PROOF of Claim Form for Torture Victims by Joselito I. Dimaano by Virginia
Dimaano
1948 | PROOF of Claim Form for Torture Victims by Herbacio Limbaga
1949 | PROOF of Claim Form for Torture Victims by Benjamin L. Martinez
1950 | PROOF of Claim Form for Torture Victims by Angelito M. Sanchez
1951 | PROOF of Claim Form for Torture Victims by Ricardo A. Galario by Estrellita Q.
Galario
1952 | PROOF of Claim Form for Torture Victims by Nestor T. Castro
1953 | PROOF of Claim Form for Torture Victims by Melencio R. Cabaraban
1954 | PROOF of Claim Form for Torture Victims by Eric F. Nacasabog
1955 | PROOF of Claim Form for Torture Victims by Romeo F. Mendoza
1956 | PROOF of Claim Form for Torture Victims by Fely B. Rico
1957 | PROOF of Claim Form for Torture Victims by Quirico E. Villareal Jr.
1958 | PROOF of Claim Form for Torture Victims by Ben D. Espejo
1959 | PROOF of Claim Form for Torture Victims by Eligio 8. Guevarra
1960 | PROOF of Claim Form for Torture Victims by Romulo Y. Abaya
1961 | PROOF of Claim Form for Torture Victims by Escalante Antonio by Escalante
Venancia
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CIVIL DOCKET CONTINUATION SHEER!

PLAINTIFF

IN RE: ESTATE OF FERDINAND E, MARCOS HUMAN RIGHTS LITIGATION

DEFENDANT

pocket No. MDL 840

PAGE 100r paces
DATE NR. PROCEEDINGS
1999
Apr 2 1962 | PROOF of Claim Form for Torture Victims by Escalante Venancia
1963 PROOF of Claim Form for Torture Victims by Eduardo G. Gorospe
1964 | PROOF of Claim Form for Torture Victims by Cenon E. Zambrano
1965 | PROOF of Claim Form for Torture Victims by Antonio L. Robles
1966 | PROOF of Claim Form for Torture Victims by Dante B. Vitug
1967 | PROOF of Claim Form for Torture Victims by Danilo N. Gutterrez
1968 | PROOF of Claim Form for Torture Victims by Feliza Lansang Arellano
1969 | PROOF of Claim Form for Torture Victims by Ruben M. Aycocho
1970 | PROOF of Claim Form for Torture Victims by Nievas Villamor-Aguirre
1971 | PROOF of Claim Form for Torture Victims by Mamerto R. Yee
1972 | PROOF of Claim Form for Torture Victims by Edwin Q. Cutin
1973 | PROOF of Claim Form for Torture Victims by Redrigo C. Quimino
1974 | PROOF of Claim Form for Torture Victims by Remedios Gallang
1975 | PROOF of Claim Form for Torture Victims by Jesus Isarna Noquerio
1976 | PROOF of Claim Form for Torture Victims by Ernesto I. Florentino
1977 | PROOF of Claim Form for Torture Victims by Arturo L. Garcia
1978 PROOF of Claim Form for Torture Victims by Carlito M. Aycocho
1979 | PROOF of Claim Form for Torture Victims by Reynaldo V. I1lao
1980 | PROOF of Claim Form for Torture Victims by Maria Peresa Gonzales
(‘1981 | PROOF of Claim Form for Torture Victims by Villamor A. Albano by Josefina De Vera
Albano
1982 | PROOF of Claim Form for Torture Victims by Ernesto H. Aboloc
1983 | PROOF of Claim Form for Torture Victims by Roberto M. Arceo
1984 | PROOF of Claim Form for Torture Victims by Rodolfo C. Roque
1985 | PROOF of Claim Form for Torture Victims by Felix C. Dalisay
1986 | PROOF of Claim Form for Torture Victims by Adora Faye E. De Vera
1987 | PROOF of Claim Form for Torture Victims by Romuaido B. Inductive, Sr.
1988 | PROOF of Claim Form for Torture Victims by Reynaldo C. Correche
1989 PROOF of Claim Form for Torture Victims by Roman Abunge
1990 | PROOF of Claim Form for Torture Victims by Jaime Salay
1991 | PROOF of Claim Form for Torture Victims by Eugenio Cabalhao by Concepcion Solayac
1992 | PROOF of Claim Form for Torture Victims by Crispiane Martin
1993 PROOF of Claim Form for Torture Victims by Jose Y. Tarlic ~
1994 | PROOF of Claim Form for Torture Victims by Pelagio Aggabao
1995 | PROOF of Claim Form for Disappearance Victims by Nestor T. Ongkingco by Petronio
S. Ongkingco
1996 | PROOF of Claim Form for Disappearance Victims by Antolin M. Enriquez by Gery R.
Enriquez
1997 | PROOF of Claim Form for Disappearance Victims by Wilfredo B. Belado
1998 | PROOF of Claim Form for Disappearance Victims by Giny H. Kusain
1999 | PROOF of Claim Form for Disappearance Victims by Abel Makauyag by Aning Makauyag
2000 | PROOF of Claim Form for Disappearance Victims by Carlos Tayag by Fidel P. Tayag
2001 | PROOF of Claim Form for Disappearance Victims by Carlos Tayag by Fidel P. Tayag
2002 PROOF of Claim Form for Disappearance Victims by Nilo C. Igancio by Fedelina
E. Ignacio
2003 | PROOF of Claim Form for Disappearance Victims by Galing Saligandang
2004 | PROOF of Claim Form for Disappearance Victims by Jaime C. Lopez by Lorena Lopez
2005 | PROOF of Claim Form for Disappearance Victims by Edison M. Tauro by Zenaida T.
Bacsa
2006 | PROOF of Claim Form for Disappearance Victims by Maria Gealone Germedia
2007 | PROOF of Claim Form for Disappearance Victims by Emiliano Sumapad

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CIVIL DOCKET CONTINUATION SHEET

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DEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION

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Elvin A. Laurel by
2013 | Statement by Gregorio Odian
2014 |Statement by Buga Maitula
2015 |Statement by Buga Nitula

2016 |Statement by Lynda C. Fernandez
2017 |OBJECTIONS To The Provisional Compromise Agreement by Auxilium Toling-Olayer

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Felicidad Alvaro

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2039 | PROOF of Claim Form For
Enobejes L. Catayas

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DATE NR. PROCEEDINGS
i399
Apr 2 2008 PROOF of Claim Form for Disappearance Victims by Makasulay Musa by Sinalinda
Panimbong Musa
2009 PROOF of Claim Form for Disappearance Victims by Rogelio Deguzman Alfonso
2010 |PROOF of Claim Form for Summary Execution Victims by Melito Tierra Glor by Gloria
T. Glor .
~ ,2011 | PROOF of Claim Form for Summary Execution Victims by Ferdinand M. Arced by
Reginaldo F. Arceo
2012 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by

Adelita R. Laurel

Torture Victims
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by

Julio Bela Umbria Catotocan
Gil D. Rocacorba

Filemon N. Garcia

Rene Lumanting Catayas
Eliseo P. Yerona

Henson Tiu Laurel

Gerundio A. Boyles

Jaime “M. Agiuba

Leonardo V. Paréjinog
Victor G. Mallari

Carlos Acogidp, Deceased by Preciosisin

Jose Manalang

Manuel Soliman Alabado

Oscar A. Pimentel

Rosalina 8. BDumaboc

Jose O. Bugtong

Alfredo L. Magpayo

Jose B. Imperial

Manuel 8. Alvaro

Gonzalo L. Alvaro, Deceased by

Jesus P. Manalang
Rene Lumanting Catayas, Deceased by

Serrano S. Jimenez

Rodrigo M. Serrano

Charlite Sayson

Joge §. Saxson

Joel R. Enriquez

Ruben Pution, Deceased by Diana Pution
Apolonio M. Angeles

Disappearance Victims by Emerson R. Supsupin, Elpidio R.
Supsupin by Perla R. Supsipin

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2048 PROOF of Claim Form For Summary Execution Victims by Antonio L. Allapitan by Liza
G. Allapitan

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CIVIL, DOCKET CONTINUATION SHEET

PLAINTIFRE

IN RE: ESTATE

OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

|

CEFENDANT

| pocket No. MDL 840
|

| PaGe 102o¢ PAGES

DATE NR. PROCEEDINGS
1999
Apr 5 (2049 (Statement by Pianita G. Suguitan
-2050 | Starement by Agustine Salay
2051 Statement by Joseph M. Gumamid
[2052 : PROOF of Claim Form For Torture Victime by Benito Decang, Deceased by Bernardina
5. Decang
2053 | PROOF of Claim Form For Torture Victime by Manolo M. Refuela
2054 PROOF of Claim Form For Torture Victims by Wilfredo P, Domingo
-2055 | PROOF of Claim Form For Torture Victims by Jose L.-Rodicol
2056 | PROOF of Claim Form For Torture Victims by Romeo S. Calderon
2057 | PROOF of Claim Form For Disappearance Victims by Rudy Fernando Palencia, Deceased
Ofelia F. Palencia
| 2058 Statement by Bienvenida Patiag
|
6 (2059 | PROOF of Claim Form For Torture Victims by Ernesto C. Zara
2060 PROOF of Claim Form For Torture Victims by Mila Buscayno
2061 PROOF of Claim Form For Torture Victims by Estrallita $. Azares
2062 | PROOF of Claim Form For Torture Victims by Aurelio Espinosa De Jesus
;2063 (PROOF of Claim Form For Torture Victims by Aneclita Francisco, Deceased by
| Estilita M. Francisca
2064 | PROOF of Claim Form For Torture Victims by Manuel M. Momongan
2065 | PROOF of Claim Form For Torture Victims by Benigno H. Miranda
2066 | PROOF of Claim Form For Torture Victims by Alejandro Bengco, Deceased by Carolina
G. Bengco .
2067 | PROOF of Claim Form For Torture Victims by Rodolfo N. Bucud
2068 PROOF of Claim Form For Torture Victima by Clito Omit
2069 | PROOF of Claim Form For Torture Victims by Rogelio Pineda, Deceased by Rosita M.
Pineda
2070 | PROOF of Claim Form For Torture Victims by Alberto C. Maribong
2071 | PROOF of Claim Form For Torture Victims by Helenberta J. Cordona
2072 | PROOF of Claim Form For Torture Victims by Vitiliana (Boy) Mazo
2073 PROOF of Claim Form For Torture Victims by Aurelio Lingaya
2074 PROOF of Claim Form For Torture Victims by Ernesto Feliciano
| 2075 | PROOF of Claim Form For Torture Victims by Jovito C. Baclaan, Deceased by Magdaliy
C. Baclaan
(2076 | PROOF of Claim Form For Torture Victims by Manuel Reyes Cruz
2077 | PROOF of Claim Form For Torture Victims by Numeriano D. Frias
: 2078 | PROOF of Claim Form For Torture Victims by Reberto S. Ibanez ~
2079 | PROOF of Claim Form For Torture Victims by Momar Gaudencio
2080 | PROOF of Claim Form For Torture Victims by Emeliano 8. Bacaro
2081 | PROOF of Claim Form For Torture Victims by Leonardo S$. Nicdao
2082 | PROOF of Claim Form For Torture Victins by Pedro M. Sunglao
2083 | PROOF of Claim Form For Torture Victims by William Nucum, Deceased by Violeta
Nucum
| 2084 PROOF of Claim Form For Torture Victims by Jose Milan Soliva
| 2085 PROOF of Claim Form For Torture Victims by Jose R. Miranda
| 2086 | PROOF of Claim Form For Torture Victims by Memesio D. Flores
2087 | PROOF of Claim Form For Torture Victims by Joel A. Abellare
2088 | PROOF of Claim Form For Torture Victims by Ruth E. Fernandez
| 2089 PROOF of Claim Form For Torture Victims by Narcisa L. Macapagal
| 2090 | PROOF of Claim Form For Torture Victims by Edison Tayas
' 2091 PROOF of Claim Form For Torture Victims by Bienvenido B. Lansangan

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT 7

IN RE: ESTATE OF FERDINAND &.

MARCOS | HUMAN RIGHTS LITIGATION

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PAGE LO30r PAGES
DATE NR. | PROCEEDINGS
1999
Apr 6 2092 | PROOF of Claim Form For Torture Victims by Estalita M. Francisco
2093 | PROOF of Claim Form For Torture Victims by Hilario M. Domingo
2094 | PROOF of Claim Form For Torture Victims by Alberto Miclat, Deceased by Estilita
B. Miclat
2095 | PROOF of Claim Form For Torture Victims by Jesus M. Toledo
~ | 2096 | PROOF of Claim Form For Torture Victims by Antonio C. Greta
2097 | PROOF of Claim Form For Torture Victims by Romeo Cabayao
2098 | PROOF of Claim Form For Torture Victims by Rafael M. De Las Alas
2099 PROOF of Claim Form For Torture Victims by Domiciano C. Amparo
2100 | PROOF of Claim Form For Torture Victims by Elegio E. Mendonis, Deceased by Getulic
E. Mendonis
2101 PROOF of Claim Form For Torture Victims by Medardo 8. Ocampo
2102 | PROOF of Claim Form For Torture Victims by Custodio G. Ferrer, Jr.
2103 | PROOF of Claim Form For Torture Victims by Erlinda M. Doria-Miranda
2104 PROOF of Claim Form For Torture Victims by Daneil M. Abiera, Jr.
2105 | PROOF of Claim Form For Torture Victims by Roque G. Soriano
2106 | PROOF of Claim Form For Torture Victims by Ruban R. Diaz
2107 | PROOF of Claim Form For Torture Victims by Arthur A. Azucena
2108 | PROOF of Claim Form For Torture Victims by Heraldo $. Pagulayan
2109 | PROOF of Claim Form For Torture Victims by Jacobo Q. Lumbao
2110 | PROOF of Claim Form For Torture Victims by Primo N. Gonzales
2111 | PROOF of Claim Form For Torture Victims by Azela F. Campanan
2112 | PROOF of Claim Form For Torture Victims by Sulpicio P. Ramento
2113 | PROOF of Claim Form For Torture Victims by Pedro A. Lemos
1, 2114 PROOF of Claim Form For Torture Victims by Sancho Q. Permi jo
2115 | PROOF of Claim Form For Torture Victims by Reynaldo I. Cuerdo
2116 | PROOF of Claim Form For Torture Victims by Leonilo Quindoza, Deceased by Liwayway |
M. Quindoza
2117 | PROOF of Claim Form For Torture Victims by Fortunato P. Querubin
2118 | PROOF of Claim Form For Torture Victims by Manfred A. Ortiz
2119 | PROOF of Claim Form For Torture Victims by Romulo P. Pondivida
2120 | PROOF of Claim Form For Torture Victims by Santos Pondivida
2121 | PROOF of Claim Form For Torture Victims by Edesa Pedregesa Ferrer
2122 | PROOF of Claim Form For Torture Victims by Gaudencio Armada
2123 | PROOF of Claim Form For Torture Victims by Jovito Pondivida
2124 | PROOF of Claim Form For Torture Victims by Severino M. Galindo
2125 | PROOF of Claim Form For Torture Victims by Rogelio R. Marcalda
2126 | PROOF of Claim Form For Torture Victims by Wilfredo P. BDeclarador
2127 | PROOF of Claim Form For Torture Victims by Gloria P. Pondivida
2128 | PROOF of Claim Form For Torture Victims by Virgilio S. Salunoy
2129 | PROOF of Claim Form For Torture Victims by Amado Josef Domingo
2130 | PROOF of Claim Form For Torture Victims by Lencoln R. De Tablan
2131 | PROOF of Claim Form For Torture Victims by Igmidio G. De Guzman
2132 | PROOF of Claim Form For Torture Victims by Nancy Credo Galindo
2133 | PROOF of Claim Form For Torture Victims by Luisito Gonzales Dela Torre
2134 PROOF of Claim Form For Torture Victims by Roberto Yoingeco de Leon
2135 | PROOF of Claim Form For Torture Victims by Pineda Severino
2136 | PROOF of Claim Form For Torture Victims by Leoncio C. Banate, Jr.
2137 | PROOF of Claim Form For Torture Victims by Pedro Anicete
2138 | PROOF of Claim Form For Torture Victims by Romeo Ramos Medina
2139 | PROOF of Claim Form For Torture Victims by Filemon P. Serrano
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IN RE: ESTATE OF FERDINAND E. MARCOS (HUMAN RIGHTS LITIGATION | 104,
/ PAGE {Voor paces
DATE NR. | PROCEEDINGS
1999
Apr 6 2140 | PROOF of Claim Form For Torture Victims by Miguel T. Cabrera, Deceased by Romeo M,
Cabrera :
2141 PROOF of Claim Form For Torture Victims by Bernabe G. Buscayno
2142 | PROOF of Claim Form For Torture Victims by Rizalino D. Deiparine
2143, PROOF of Claim Form For Torture Victims by Ignacio L. Santos
2144 | PROOF of Claim Form For Torture Victims by Ildefonso V. Bontia, Jr.
2145 PROOF of Claim Form For Torture Victims by Joseph S. Quiachon
2146 | PROOF of Claim Form For Torture Victims by Ramon Morales, Deceased by Jessie M.
Ongocs
2147 | PROOF of Claim Form For Torture Victims by Virgilio G. Caballero
2148 | PROOF of Claim Form For Torture Victims by Orlando Castro
2149 PROOF of Claim Form For Torture Victims by Virgilio N. Villegas
2150 | PROOF of Claim Form For Torture Victims by Renato Rosalada May las
2151 |) PROOF of Claim Form For Torture Victims by Antonio 8. Manaquil
2152 PROOF of Claim Form For Torture Victime by Ariyn Z. Cobing
2153 PROOF of Claim Form For Torture Victims by Henry R. Cabing
2154 | PROOF of Claim Form For Torture Victims by Elpedio Tampos
2155 PROOF of Claim Form For Torture Victims by Rogelio Collado
2156 | PROOF of Claim Form For Torture Victims by Rizalino D. Deiparine
2157 | PROOF of Claim Form For Torture Victims by Orlando Q. Agudera
2158 | PROOF of Claim Form For Torture Victims by Romeo Arandela
2159 | PROOF of Claim Form For Torture Victims by Cenon R. Salcedo
2160 (PROOF of Claim Form For Torture Victims by Ramon B. Ajusan and Teresita 8. Ajusan
2161 | PROOF of Claim Form For Torture Victims by Florencio Castro
2162 |; PROOF of Claim Form For Torture Victims by Puisa Fosa Dominado
2163 | PROOF of Claim Form For Torture Victims by Bimbo P. Villarete
2164 | PROOF of Claim Form For Torture Victims by Valerio M. Farrol
2165 PROOF of Claim Form For Torture Victims by Rosela R. Forro
2166 (PROOF of Claim Form For Torture Victims by Demetria Forro
2167 PROOF of Claim Form For Torture Victims by Albert Farrol
2168 | PROOF of Claim Form For Disappearance Victims by Flora M. Cedro
2169 | PROOF of Claim Form For Disappearance Victims by Wilfredo A. Esteban
2170 PROOF of Claim Form For Disappearance Victims by Selvestre B. Azares, Jr. by
Estrellita 5. Azgares
,2171 | PROOF of Claim Form For Disappearance Victims by Pablo Castro by Maura R. Castro
/2172 | PROOF of Claim Form For Disappearance Victims by Juan Espinosa Jr. by Emilio
Espinosa
2173 | PROOF of Claim Form For Disappearance Victims by Carlito P. Dela Cruz by Carolina
8. Dela Cruz
2174 | PROOF of Claim Form For Disappearance Victims by Paulino D. Pondara by Bibiana
Pondara
2175 | PROOF of Claim Form For Disappearance Victims by Pedro C. Maglangit, Jr.
2176 | PROOF of Claim Form For Disappearance Victims by Fe 8. Mananawong
2177 | PROOF of Claim Form For Disappearance Victims by Roberto B. Bantilan by Fe B.
Mananawong
2178 , PROOF of Claim Form For Disappearance Victims by Eduardo F. Dizon by Juan §. Dizox
2179 PROOF of Claim Form For Disappearance Victims by Adteg K. Mukalam by Kabo Mukalam
2180 PROOF of Claim Form For Disappearance Victims by Catuya E. Kabigit by Sangal
E. Kabigit
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CEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

| DOCKET No. MDL 840

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PROCEEDINGS

DATE NR.
1999
Apr 6 218] | PROOF of Claim Form For Disappearance Victims by Arcadio A. Pronebo by Fernando
Pronebo
2182 | PROOF of Claim Form For Disappearance Victims by Isabilo Somined
2183 | PROOF of Claim Form For Disappearance Victims by Marcelino G. Bantilan
2184 | PROOF of Claim Form For Disappearance Victims by Emmanuel I, Alvarez by Jovita
- I. Alvarez
2185 | PROOF of Claim Form For Disappearance Victims by Emmanuel Igtiben Alvarez by
Jovita Igtiben Alvarez
2186 | PROOF of Claim Form For Disappearance Victims by Herminie L. Catigan by Teresa
L. Catigan'
2187 | PROOF of Claim Form For Disappearance Victims by Apolinar N. Gamale
2188 | PROOF of Claim Form Fer Disappearance Victims by Isabelo Bonus by Norma Bonus
2189 | PROOF of Claim Form For Summary Execution Victims by Salvador Cabayao by
Concepcion C. Cabayao
2190 | PROOF of Claim Form For Summary Execution Victims by Arcelle Espinosa De Jesus by
Fidel Espinosa
2191 | PROOF of Claim Form For Summary Execution Victims by Jose Alex C. Encarnada by
Ayeliona E. Nejar
2192 | PROOF of Claim Form For Summary Execution Victims by Coronacion C. Zogonon,
Eduardo Togonon, Fernandito Togonon by Tochie Dote
2193 | PROOF of Claim Form For Summary Execution Victims by Dimas Dig Jimenez by
Cirela Jimenez Pandioday
2194 | PROOF of Claim Form For Summary Execution Victims by Joel Ferro by Demetrio C.
Forre
2195 | PROOF. of Claim Form For Summary Execution Vietims by Abelina Jiminez by Marilyn
Calastre
2196 | PROOF of Claim Form For Summary Execution Victims by Alfrido Diaz by Samson
Lingaya
2197 | PROOF of Claim Form For Summary Execution Victims by Salbador Jimenez by
Erlenda Jemenez
2198 | PROOF of Claim Form For Summary Execution Victims by Fernando Diaz ty Miguel Casrd
2199 | PROOF of Claim Form For Summary Execution Victims by Euquil Galsez by Gellah Ling
2200 | PROOF of Claim Form For Summary Execution Victims by Wilfredo Compliza by Merlyn
Compliya
2201 | PROOF of Claim Form For Summary Execution Victims by Fedireco Diaz by Flora D.
Bigeada
2202 | PROOF of Claim Form For Summary Execution Victims by Maximino Catamin by Mariles
Lingaya
2203 PROOF of Claim Form For Summary Execution Victims by Cristito R. Pondivida by
Irene R. Pondivida
2204 , PROOF of Claim Form For Summary Execution Victims by Dioscoro Jimenez by Vilma
Jimenez
2205 | PROOF of Claim Form For Summary Execution Victims by Pablo Jimenez by Baltazar
Jimenez
2206 | PROOF of Claim Form For Summary Execution Victims by John Herbert L. De"La Fuente
by Josefina M. De La Fuente
2207 | PROOF of Claim Form For Summary Execution Victims by John Herbert L. De La Fuente
by Josefina M. De La Fuente
2208 | PROOF of Claim Form For Summary Execution Victims by Hernando Gilbalega by Eden
Jimenez
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

IN RE: ESTATE

OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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DATE NR. | PROCEEDINGS
1999 =
Apr 6 (2209 (Statement by Helen Berta S. Cardoza
2210 Statement by Iniega Cuenca
(/2211 | Statement by Florentino Pumicpic
2212 |Statement by Anastacio Bustilo
(2213 (Statement by Uldarico Salac
(2214 | Statement by Gloria Alia
(2215 | Statement by Danilo Tandoy
/2216 Statement by Cheryline Rivera Balawin
(2217 | Statement by Tiburcio Maglangit
2218 Statement by Lenlinida Tadoc
12219 ‘Notice of Joinder In Objections Filed By Fidel Ageaoili, Juliete De Lima Sison
| And Reverend Cesar Taguba Filed by Named CLass Plaintiffs Celsa Hilao,
| Adora Faye De Vera, Arturo Revilla, Renato Pineda, Jose Duran And Paula
Romero - Cv 86-16145
7 (2220 PROOF of Claim Form For Torture Victims by Lydia Angeles
(2221 ‘PROOF of Claim Form For Torture Victims by Felizardo Sioson
(2222 PROOF of Claim Form For Torture Victims by Cesar Lucas
2223 PROOF of Claim Form For Torture Victims by Eufronia Garjen de Mesa by Rogélio
de Mesa
2224 PROOF of Claim Form For Torture Victims by Roberto Alonsagay
2225 |PROOF of Claim Form For Torture Victims by Silveno Sexiona
2226 PROOF of Claim Form For Torture Victims by Josefin S. Espanola
2227 | PROOF of Claim Form For Torture Victims by Francisco A. Socuaje
2228 (PROOF of Claim Form For Torture Victims by Vedasto D. Figueroa
2229 | PROOF of Claim Form For Torture Victims by Constancio Cabuello
2230 | PROOF of Claim Form For Torture Victims by Leoncio Ocasla
2231 | PROOF of Claim Form For Torture Victims by Enrica 0. Dacallos
2232 |PROOF of Claim Form For Torture Victims by Ernesto Dacallos
2233 | PROOF of Claim Form For Torture Victims by Eusebia Tangpuz
2234 PROOF of Claim Form For Torture Victims by Eusebia Tangpuz
2235 | PROOF of Claim Form For Torture Victims by Reynaldo V. Bajen
/2236 PROOF of Claim Form For Torture Victims by Pascual B. Rocabo
2237 | PROOF of Claim Form For Torture Victims by Melencio R. Cabaraban
2238 | PROOF of Claim Form For Torture Victims by Felix C. Abaya
2239 PROOF of Claim Form For Torture Victims by Jonathan D. Millan, Deceased by
Sergio F, Millan and Erlinda P. Millan -
2240 | PROOF of Claim Form For Torture Victims by Gaudencio Cinco, Deceased by Margarita
B. Cinco
2241 | PROOF of Claim Form For Torture Victims by Rufino P. Dela Cruz, Deceased by
Antonio B. Dela Cruz
2242 PROOF of Claim Form For Torture Victims by Uldarico Gabiana, Deceased by Rosario
D. Gabiana
2243 PROOF of Claim Form For Torture Victims by Pepito B. Abaigar
2244 | PROOF of Claim Form For Torture Victims by Domenador Abaigar
2245 | PROOF of Claim Form For Torture Victims by Sevillano Tomas, Deceased by Brigeda
Sevillano
2246 | PROOF of Claim Form For Torture Victims by Ludito S. Cabriana
2247 . PROOF of Claim Form For Torture Victims by Jose A. Napoles
2248 | PROOF of Claim Form For Torture Victims by Pastor Araza
2249 PROOF of Claim Form For Torture Victims by Antonio B. Dela Pena
2250 | PROOF of Claim Form For Torture Victims by Cornelia B. Macariola

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PLAINTIFF

IN RE: ESTATE

OF FERDINAND E.

MARCOS HUMAN RIGHTS LITIGATION

DEPENDANT

| DOCKET NO. _MDL_ 840

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DATE NR. PROCEEDINGS
1999
Apr 7 2251 | PROOF of Claim Form For Torture Victims by Octavie L. Anquiis
2252 | PROOF of Claim Form For Torture Victims by Felomino Delmonte
2253 | PROOF of Claim Form For Torture Victims by Federico M. Abbang, Sr.
2254 | PROOF of Claim Form For Torture Victims by Domingo Dacaymat Bacsal, Sr.
2255 PROOF of Claim Form For Torture Victims by Manuel M. Glorioso
2256 | PROOF of Claim Form For Torture Victims by Bernardo S. Abalajen
2257 | PROOF of Claim Form For Torture Victims by Alfredo A, Bacarra
2258 | PROOF of Claim Form For Torture Victims by Eliseo G. Bela Serna, Jr.
2259 | PROOF of Claim Form For Torture Victims by Julius Cainclet
2260 | PROOF of Claim Form For Torture Victims by Francisco A. Cinco
2261 | PROOF of Claim Form For Torture Victims by Wenseslada Fernandez
2262 | PROOF of Claim Form For Torture Victims by Angeles Allorde
2263 | PROOF of Claim Form For Torture Victima by Hospicio Ortega Sr,
2264 PROOF of Claim Form For Torture Victims by Eleuterio Buenos
2265 | PROOF of Claim Form For Torture Victims by Leopoldo Tomalabead, Deceased by Tite
Toma labcad
2266 | PROOF of Claim Form For Torture Victims by Ricardo C. Raganit
2267 | PROOF of Claim Form For Torture Victims by Roberto Sabdaga \
2268 PROOF of Claim Form For Torture Victims by Victorio Asne
2269 | PROOF of Claim Form For Torture Victims by Joaquin V. Dultra, Deceased by Donailld
J. Dultra
2270 |PROOF of Claim Form For Torture Victims by Nerio A. Esperas :
2271 | PROOF of Claim Form For Torture Victims by Serapio D. Esperas, Deceased by Nerio
A. Esperas
2272 | PROOF of Claim Form For Torture Vietims by Adela Sia-Esperas
2273 |PROOF of Claim Form For Torture Victims by Vina A. Cajes
2274 | PROOF of Claim Form For Torture Victims by Milleth Anine I
2275 |PROOF of Claim Form For Torture Victims by Melinda Valderrama~Upalda
2276 | PROOF of Claim Form For Torture Victims by Medel M. Manalo
2277 | PROOF of Claim Form For Torture Victims by Simeon R. Mangurali
2278 PROOF of Claim Form For Torture Victims by Leah Clemente Cruz
2279 | PROOF of Claim Form For Torture Victims by Reynaldo Banquirigan Upalda
2280 | PROOF of Claim Form For Torture Victims by Marimar V. Laxa
2281 | PROOF of Claim Form For Torture Victims by Jovita B. Valiente
2282 - PROOF of Claim Form For Torture Victims by Josephine Valiente Fernandez
2283 | PROOF of Claim Form For Torture Victims by Gil Sevillano
2284 PROOF of Claim Form For Torture Victims by Romulo A. Borja
2285 | PROOF of Claim Form For Torture Victims by Catalina Pondivida
2286 | PROOF of Claim Form For Torture Victims by Restituto Avoloso, Jr.
2287 | PROOF of Claim Form For Torture Victims by Domingo Ulita
2288 PROOF of Claim Form For Torture Victims by Roel Apil Lopez, Deceased by Felipe
Apil Lopez
2289 PROOF of Claim Form For Torture Victims by Cristina Pargas Bawagan
2290 | PROOF of Claim Form For Torture Victims by Danilo Delima
2291 | PROOF of Claim Form For Torture Victims by Jaime Delima
2292 PROOF of Claim Form For Torture Victims by Glorioso Aringo
2293 | PROOF of Claim Form For Torture Victims by Geronimo M. Pastele
2294 | PROOF of Claim Form For Torture Victims by David Dolosa
2295 / PROOF of Claim Form For Torture Victims by Lydia Angeles
2296 | PROOF of Claim Form For Torture Victims by Julius C. Cainélet
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DATE NR. PROCEEDINGS
1999 |
Apr 7 (2297 “PROOF of Claim Form For Torture Victims by Segundo Basal, Elena Basal and Manuel
Basal

2298 (PROOF of Claim Form For Torture Victims by Carlito L. Macariola
2299 | PROOF of Claim Form For Torture Victims by Jovito B. Buraga

2300 |PROOF of Claim Form For Torture Victims by Reynaldo T. Jamoralin
2301 | PROOF of Claim Form For Torture Victims by Teresita Alvaro

,2302 PROOF of Claim Form For Torture Victims by Fidel Cerenado Y. Diaz
2303 PROOF of Claim Form For Torture Victims by Jarius Bondoc

2304 PROOF of Claim Form For Torture Victims by May rendon-Cinco

2305 | PROOF of Claim Form For Torture Victims by Rosalinda Delagincia Labadan

2306 PROOF of Claim Form For Torture Victims by Dmoinador Rafael

2307 PROOF of Claim Form For Torture Victims by Jaime Soriano

2308 ‘PROOF of Claim Form For Torture Victims by Rogelio R. Agregado

2309 PROOF of Claim Form For Torture Victims by Sergio 5. Dumencel

2310 PROOF of Claim Form For Torture Victims by Jimmy C. Sugui jan

2311 | PROOF of Claim Form For Torture Victims by Cresencio C. Gordon

2312 (PROOF of Claim Form For Torture Victims by Pacita R. Padron

12313 ‘PROOF of Claim Form For Torture Victims by Dominador Q. Alejo

[2314 PROOF of Claim Form For Torture Victims by Filemon M. Alunday

2315 -PROOF of Claim Form For Torture Victims by Priscila G. Flores

2316 | PROOF of Claim Form For Torture Victims by Manuel Cabrigas

2317 (PROOF of Claim Form For Torture Victims by Cesar Tongco Leones

2318 | PROOF of Claim Form For Torture Victims by AMelia Ma jammu

2319° PROOF of Claim Form For Torture Victims by Luis Arches Posa

2320 | PROOF of Claim Form For Torture Victims by Pablito Herrera Brozas

2321 PROOF of Claim Form For Torture Victima by Daniel L. Impertal

2322 | PROOF of Claim Form For Torture Victims by Felix F. Ortego, Deceased by Carmen
FP, Ortego

2323 | PROOF of Claim Form For Torture Victims by Grace Mahinay-Noval

2324 | PROOF of Claim Form For Torture Victims by Lutgardo B. Barbo

2325 PROOF of Claim Form For Torture Victims by Ofelia C. Vintola

(2326 | PROOF of Claim Form For Torture Victims by Benedicto I. Rufin, Sr., Deceased by
Eleonot I. Rufin

2327 |PROOF of Claim Form For Torture Victims by Redentor M. Sabino

2328 PROOF of Claim Form For Torture Victims by Salvador Laganzo

2329 | PROOF of Claim Form For Torture Victims by Roger Delima

/ 2330 : PROOF of Claim Form For Torture Victims by Rogelio R. Dacar

(2331 | PROOF of Claim Form For Torture Victims by Rosita Rapada-Villamor

12332 PROOF of Claim Form For Torture Victims by Lutgardo B. Barbo

2333 PROOF of Claim Form For Torture Victims by Ruben Velluz

2334 PROOF of Claim Form For Torture Victims by Manuel Miguel M. Garcia

2335 | PROOF of Claim Form For Torture Victims by Lorenzo L. Camingawan, Deceased by
Conchita Camingawan Rosal

2336 PROOF of Claim Form For Torture Victims by Orlando Brinas, Deceased by Estela

G. Brinas

2337 | PROOF of Claim Form For Torture Victims by Ernesto B. Boadilla

2338 | PROOF of Claim Form For Disappearance Victims by Margarito B. Maestre by Generosa
8. Maestre

2339 | PROOF of Claim Form For Disappearance Victims by Juan Ocasla by Enrica Ocasla
Figueroa

2340 | PROOF of Claim Form For Disappearance Victims by Degario Cabuenos by Dolores
Cabuenos

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IN RE: ESTATE OF FERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION
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DATE NR. PROCEEDINGS
1999
Apr 7 2341 | PROOF of Claim Form For Disappearance Victims by Jessica M. Sales by Eufrocina M.
Sales
2342 | PROOF of Claim Form For Disappearance Victims by Jungcalang Mercedez
2343 | PROOF of Claim Form For Disappearance Victims by Martha A. Kipas
2344 PROOF of Claim Form For Disappearance Victims by Arnulfo Altamirano by Ruben
M. Resus
2345 | PROOF of Claim Form For Disappearance Victims by Jaime Gabac by Gloria P. Gabac
2346 | PROOF of Claim Form For Disappearance Victims by Joseph L. Mabanan by Estilita L.
Mabanan
2347 PROOF of Claim Form For Disappearance Victims by Romulo Rosales by Clarita R.
Macairan
2348 PROOF of Claim Form For Disappearance Victims by Trinidad Tabontubon
2349 | PROOF of Claim Form For Disappearance Victims by Conchita G. Ramiento
2350 | PROOF of Claim Form For Disappearance Victims by Victoria P. Ampoloquie by
Vicente 8. Cainoy
2351 | PROOF of Claim Form For Disappearance Victims by Mustana Mucalam by Bebe E.
Mucalam :
2352 | PROOF of Claim Form For Disappearance Victims by Vicente L. Caveiro by Simeon L.
Caveiro
2353 | PROOF of Claim Form For Summary Execution Victims by Restituto V. De Leon by
Ramon De Leon
2354 | PROOF of Claim Form For Summary Execution Victims by Edil Saling-sing by Perlita
Mabao
2355 | PROOF of Claim Form For Summary Execution Victims by Juanito Cabuenas by Estrella
Cabuenas
2356 | PROOF of Claim Form For Summary Execution Victims by Eusabio Mabao by Roque Mabao
2357 | PROOF of Claim Form For Summary Execution Victims by Roberto Tan by Patricia Tan
Basa
2358 | PROOF of Claim Form For Summary Execution Victims by Juan Saling-Sing by Perlita
Mabao
2359 | PROOF of Claim Form For Summary Execution Victims by Nestor Dacallos by Enrica
O. Dacallas
2360 | PROOF of Claim Form For Summary Execution Victims by Apolinario G. Arcasitas
2361 | PROOF of Claim Form For Summary Execution Victims by Romualdo M. Bareng by Lydia
Torres Bareng
2362 | PROOF of Claim Form For Summary Execution Victims by Felix 0. Sarmiento, Jr. by
Rosario C. Sarmiento
2363 | PROOF of Claim Form For Summary Execution Victims by Jose Zaldy B. Antoc by Petra
B. Antoc
2364 | PROOF of Claim Form For Summary Execution Victims by Enrique P. Vega by Crisanto
J. Cubelo
2365 | PROOF of Claim Form For Summary Execution Victims by Antonio Dadulla by Regina
D. Capones
2366 | PROOF of Claim Form For Summary Execution Victims by Narciso R. Velila by Nelia
Velila Zamora
2367 | PROOF of Claim Form For Summary Execution Victims by Remberto "Bobby" Alcantara
De La Paz by Sylvia Ciocon De La Paz
2368 | PROOF of Claim Form For Summary Execution Victims by Eduardo P. Caramat by
Rosalinda C, Sabino
2369 | PROOF of Claim Form For Summary Execution Victims by Romulo Cabeliza by Ramualda
Cabeliza

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CIVIL DOCKET CONTINUATION SHEET
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Apr 7 2370 PROOF of Claim Form For Summar
Lourdes C. del Rosario

2371 | Statement
2372 |Statement
2373 | Statement
2374 (Statement
2375 Statement
2376 ‘Statement
2377 | Statement
2378 |Statement
2379 | Statement
2380 | Statement
2381 (Statement
2382 | Statement
2383 |Statement
2384 Statement
, 2385 ‘Statement
2386 (Statement
2387 !Statement
2388 (Statement
2389 §Statement
2390 (Statement
2391 (Statement
2392 (Statement
2393 |Statement
2394 ‘Statement
2395 |Statement
2396 (Statement
2397 (Statement
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2399 ‘Statement
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2404 Statement
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2406 (Statement
2407 (Statement
2408 (Statement
2409 Statement
2410 ‘Statement
2411 (Statement
(2412 [Statement
2413 [Statement
2414 Statement
2415 Statement
2416 (Statement
12417 Statement
2418 ‘Statement

by Thelma $. Olivar

by Lolita Villahemosa
by Antonia Aballe

by Lebrado Baroro

by Florencio A. Misyon
by Erlinda Apas

by Alberto Dacanasol

by Nelson Dacanasal

by Leonila A. Patis

by Epifania Rubia

by Juaquin Bagundol

by Roberto Ardines

by Felix Lasabas

by Margarita Camilion
by Revecca Donsalis

by Fe Sarmiento

by Julieta Omandam

by Loreto Angcap

by Lenito L. Tigam

by Afra Turno

by Merly Renit

by Librada Ogong

by Victoriane Nunez

by Arcelita Moquiala

by Marlyn Labang

by Rosita Centino

by Florencia Labuan-Bagaslao
by Celestina Laurino

by Fedilina Cubol

by Mamerta A. Relativo
by Leonito R. Cabural
by Leonila Monterola-Tapdasan
by Santas C. Lumingkit
by Elena Jaictin

by Ananias Yano

by Alfredo Angcap

by Generosa Patenio

by Lucia Serbado-Arandoque
by Pedro Bagundol

by Jimmy Mabida

by Rule N. Jumawid

by Epifania Rubia

by Antonia Aldia

by Ruth E. Fernandez

by Anacurita Suhon

by Francisca M. Torayno
by Paulina M. Pasco

by Lauriano C. Sumagang

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y Execution Victims by Carlito A, Superales by

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CIVIL DOCKET CONTINUATION SHEET

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PLAINTIFF

IN RE: ESTATE

DEFENDANT

OF FERDINAND E. MARCOS |Human RIGHTS LITIGATION

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Pace libre races
DATE NR, PROCEEDINGS
1999
Apr 7 2419 | Statement by Nena Gella Tobiano
2420 | Statement by Nilo B. Tabulong
2421 | Statement by Reneboy Bagundol
2422 | Statement by Premitiva D. Bello
2423 |Statement by Eulalia G. Robles
2424 | Statement by Anastacia R. Caputol
2425 Statement by Cristituto Sigue
2426 | Statement by Lucena B. Ponteras
2427 | Statement by Trinidad R. Sumangang
2428 (Statement by Nicanor L. Lasula
2429 | Statement by Epifania Q. Labatigan
2430 | Statement by Magdalina Saganay
2431 | Statement by Luciano Quezan
2432 | Statement by Jesus Tellor
2433 | Statement by Wevina Checa
2434 | Statement by Cleta E. Monsanto
2435 | Statement by Necario Tillior
2436 | Statement by Cipriana Bagundol
2437 |Statement by Rufina Penero
2438 |Statement by Ceferina A. Almirol
2439 |Statement by Welma M. Ong
2440 (Statement by Imelda V. Peras
2441 |Statement by Venancia P. Dingcong
2442 | Statement by Sagrada Neri
2443 | Statement by Lilia Octay Ambao
2444 | Statement by Ansimon Ambao
2445 | Statement by Romana R. Llanos
2446 (Statement by Catalino Mengote, Sr,
2447 | Statement by Peregino M. Pacagia
2448 |Statement by Neri Javier Colmenares
2449 | Statement by Anselma C. Catayong
2450 | Statement by Preciosa Tanedo
2451 | Notice of Motion and MOTION By Named Class Plaintiffs Celsa Hilao, Adora Faye De
Vera, Arturo Revilla, Renato Pineda, Jose Duran and Paula Romero, To Recuse
The Honorable Manuel L. Real From Determining The Fairness Of The Settlemen
And Class Counsei’s Motion For Attorneys Fees and Costs; Memorandum Of Poi
And Authorities - Cv 86~16145 (Hilao) - set for 4/29/99 at 10:00 a.m., Real
8 2452 |PROOF of Claim Form For Torture Victims by Teresita Samson~-Castillo
2453 | PROOF of Claim Form For Torture Victims by Reynaldo B. Vea
2454 |PROOF of Claim Form For Torture Victims by Antonio B. Saplaco
2455 PROOF of Claim Form For Torture Victims by Zeus A. Salazar
2456 |PROOF of Claim Form For Torture Victims by Isidro Animos, Jr.
2457 |PROOF of Claim Form For Torture Victims by Primo L. Tan, Deceased by Primo L. Tan
2458 |PROOF of Claim Form For Torture Victims by Jose Rolante, Deceased by Clotilde B.
Bolante
2459 |PROOF of Claim Form For Terture Victims by Dennis C. Canas
2460 PROOF of Claim Form For Torture Victims by Edmund G. Calasara
2461 |PROOF of Claim Form For Torture Victims by Diosdado H. Oro, Sr.
2462 PROOF of Claim Form For Torture Victims by Jerencio Jamoral
2463 | PROOF of Claim Form For Torture Victims by Sabino Bulacoy
2464 |PROOF of Claim Form For Torture Victims by Jaime Lopronio

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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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DATE PROCEEDINGS
1995 |
Apr 8 2465 - PROOF of Claim Form For Torture Victims by Damaso S. De La Cruz
2466 (PROOF of Claim Form For Disappearance Victima by Wilfredo A. Esteban
2467 STATEMENT by Remedios Gomez
9 12468 EP: ORDER TO SHOW CAUSE Why Section IV of Plaintiff's Memorandum in Support of
(Erg date Motion for Final Approval Should Not Be Stricken. The Court hears arguments
4/5/99) | of counsel. The Court Orders that Section IV of Plaintiff's Memorandum shall
be Stricken. Defendants to submit a proposed Order.
i (Ct Rptr: Leonore LeBlanc) REAL
9 2469 (PROOF of Claim Form For Torture Victims by Margarito Pestano Dela Pena
2470 (PROOF of Claim Form For Torture Victims by Veronica A. Amoroso
2471 PROOF of Claim Form For Torture Victims by Benjamin R. Segundo
2472 PROOF of Claim Form For Torture Victims by Virginia Rivas Campos
2473 |PROOF of Claim Form For Torture Victime by Eduardo B. Daseu
2474 PROOF of Claim Form For Torture Victims by Domingo Y. Ducado, Jr., Deceased by
Della Ducado Billonea
2475 PROOF of Claim Form For Torture Victims by Eulalio Cadiz
2476 (PROOF of Claim Form For Torture Victims by Veronica A. Nabong
2477 |PROOF of Claim Form For Torture Victims by Ramon L. Tayzon
2478 PROOF of Claim Form For Torture Victims by Nieves Villamor-Aguirre
2479 (PROOF of Claim Form For Torture Victims by Agustin J. Pagusara aka Don Pagusara
2480 [PROOF of Claim Form For Torture Victima by Rodrigo P. Mabulay
2481 PROOF of Claim Form For Torture Victims by Ernesto B. Labong
2482 |PROOF of Claim Form For Torture Victims by Trinidad G. Repunc
2483 PROOF of Claim Form For Torture Victims by Pedre M. Arevalo
2484 |PROOF of Claim Form For Torture Victims by Galo Novabos
2485 (PROOF of Claim Form For Torture Victims by Teresita G. Arevalo
2486 PROOF of Claim Form For Torture Victims by Lazaro T. Viray
2487 |PROOF of Claim Form For Torture Victims by Antonio R. Navidad
2488 (‘PROOF of Claim Form For Torture Victims by Pamfilo Prio Golde
2489 PROOF of Claim Form For Torture Victims by Urbano R. De Las Alas, Deceased by
Miguelito M. De Las Alas
2490 [PROOF of Claim Form For Torture Victims by Gervacio Gunday
2491 (PROOF of Claim Form For Disappearance Victims by Nilo A. Olegario, Jr.
2492 PROOF of Claim Form For Disappearance Victims by Kundi G. Kansa
2493 PROOF of Claim Form For Disappearance Victims by Datugapor A. Ra jamuda
2494 (PROOF of Claim Form For Disappearance Victims by Basit Lumambas
(2495 (PROOF of Claim Form For Summary Execution Victims by Leonardo E. Dabuet by
Eulalalia E. Dabuet
2496 [PROOF of Claim Form For Summary Execution Victims by Eugenio M. Bachicha by Editha
BE. Bachicha
2497 STATEMENT by Dulcesimo R. Suaner
2498 STATEMENT by Richard Nabong
2499 STATEMENT by Arcadio Ladeza
12 (2500 PROOF of Claim Form For Torture Victims by Ernesto LaGuen
2501 [PROOF of Claim Form For Torture Victims by Benjamin G. Reganit
2502 PROOF of Claim Form For Torture Victims by Manuel F. Bazan
2503 [PROOF of Claim Form For Torture Victims by Junnie T. Bolastic
2504 PROOF of Claim Form For Torture Victims by Eustaquio A. Cuton
2505 (PROOF of Claim Form For Torture Victims by Kit $. Enriquez
2506 [PROOF of Claim Form For Torture Victims by Edgardo C. Galleros
PROOF of Claim Form For Torture Victims by Alejandro Erwerio Calogas

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1999
Apr 12 (2508 | PROOF of Claim Form For Torture Victims by Fernando V. Forcado
2509 | PROOF of Claim Form For Torture Victims by Rodrigo Deloso Orehuela
2310 | PROOF of Claim Form For Torture Victims by Henry T. Hilario, Deceased by Maria F.
Hilario
2511 | PROOF of Claim Form For Torture Victims by Ricardo Ambe
2512 | PROOF of Claim Form For Torture Victims by Andres 0. Millar
2513 | PROOF of Claim Form For Torture Victims by Lorenzo Millena Listana
2514 | PROOF of Claim Form For Torture Victims by Lorenzo Millena Listana
2515 | PROOF of Claim Form For Torture Victims by Miriam Turqueza
2516 | PROOF of Claim Form For Torture Victims by Bebiano A. Vanzuela
2517 | PROOF of Claim Form For Torture Victims by Martin L. Empuesta, Jr.
2518 | PROOF of Claim Form For Torture Victims by Dolores M. Trajano
2519 | PROOF of Claim Form For Torture Victims by Julieta C. Miguel
2520 | PROOF of Claim Form For Torture Victims by Manuel Miguel, Sr.
2521 | PROOF of Claim Form For Torture Victims by Orlando Brinas, Deceased by Estela Cc.
Brinas
2522 | PROOF of Claim Form For Torture Victims by Roger Rellama
2523 | PROOF of Claim Form For Torture Victims by Rody J. Ngan
2524 | PROOF of Claim Form For Torture Victims by Rolando P. Montiel
2325 | PROOF of Claim Form For Torture Victims by Rolando C. Montiel
2526 | PROOF of Claim Form For Torture Victims by Emmanuel Casulla, Deceased by Emelina
Casulla
2527 | PROOF of Claim Form For Torture Victims by Rody C. Ngan
2528 | PROOF of Claim Form For Torture Victims by Nieves Q. Buntag
2529 | PROOF of Claim Form For Torture Victims by Arsenio C. Mugat
2530 | PROOF of Claim Form For Torture Victims by Simeon P. Debuque
2531 | PROOF of Claim Form For Torture Victims by Benjamin Q. De Vera
2532 | PROOF of Claim Form For Torture Victims by Isidro D. Andres
2533 ; PROOF of Claim Form For Torture Victims by Ciriaco F. Andres
2534 | PROOF of Claim Form For Torture Victims by Nenito V. Jablos
2535 | PROOF of Claim Form For Torture Victims by Conrado V. Jablos
2536 | PROOF of Claim Form For Torture Victims by Paz Bacalso Hequin
2537 | PROOF of Claim Form For Torture Victims by Emiliana Sato Siarot, Deceased by
Inocencio §. Siarot
2538 | PROOF of Claim Form For Torture Victims by Severo Siarot
2539 | PROOF of Claim Form For Torture Victims by Primo S$. Siarot
2540 | PROOF of Claim Form For Torture Victims by Avelino Macase
2541 | PROOF of Claim Form For Torture Victims by Alejandro Cunan, Deceased by Orlando
M. Cunan
2542 | PROOF of Claim Form For Torture Victims by Anacleto C. Ocampo
2543 | PROOF of Claim Form For Torture Victims by Gualberto D. Escuta
2544 | PROOF of Claim Form For Torture Victims by Primo P. Climatu
2545 | PROOF of Claim Form For Torture Victims by Claudia A. Ducusin
2546 | PROOF of Claim Form For Torture Victims by Antonio M. Adobo, Deceased by Demetrioa:
P. Adobo, Sr.
2547 | PROOF of Claim Form For Torture Victims by Porferio Miraflor, Deceased by Estelit
Miraflor
2548 | PROOF of Claim Form For Torture Victims by Jose Pabilani
2549 ; PROOF of Claim Form For Torture Victims by Anthony J. Pielago, Deceased by
Valeriano J. Pilago
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DEFENDANT

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IN RE: ESTATE OF FERDINAND E. MARCOS
PAGELI40F____ paces
DATE NR. PROCEEDINGS
1999
Apr 12 (2550 PROOF of Claim Form For Torture Victims by Alvin C. Nueva

2551 PROOF of Claim Form For Torture Victims by D'Sam Dionela Lazaro

2552 PROOF of Claim Form For Torture Victims by Gerry FP. De Guzman

2553 PROOF of Claim Form For Torture Victims by Ruth E. Duenas, Deceased by Francisco
M. Duenas, Sr.

2554 PROOF of Claim Form For Torture Victims by Pio A. Carpacite

2555 |PROOF of Claim Form For Torture Victims by Teresita Monzon Tujan

2556 PROOF of Claim Form For Torture Victims by Vicente A. Abalos

2557 |PROOF of Claim Form For Torture Victims by Dominador M. Abalos

2558 |PROOF of Claim Form For Torture Victims by Santos M. Gelera

2559 [PROOF of Claim Form For Torture Victims by Edgardo A. Kangleon, Deceased by
Reynaldo Kangleon

2560 (PROOF of Claim Form For Torture Victims by Jose R. Lintag, Jr.

2561 | PROOF of Claim Form For Torture Victims by Sereno $. DeJesus, Jr.

2562 PROOF of Claim Form For Torture Victims by Rodolfo Contreras Milan

2563 |PROOF of Claim Form For Torture Victims by Pedro Cc. Tampepe

2564 |PROOF of Claim Form For Torture Victima by Nestor C. Simpao

2565 PROOF of Claim Form For Torture Victims by Willie Bongulto Payacag

2566 |PROOF of Claim Form For Torture Victims by Bonifacio Cabang

2567 |PROOF of Claim Form For Torture Victims by Martin A. Pimentel

2568 PROOF of Claim Form For Torture Victims by Anecito Dacuro

2569 | PROOF of Claim Form For Torture Victims by Dionisio Y. Alegro, Deceased by Teresa
B. Alegro

2570 PROOF of Claim Form For Torture Victims by Vivincio P. Dalwatan

2571 PROOF of Claim Form For Torture Victims by Juanito Pakit

2572 |PROOF of Claim Form For Torture Victims by Claudia A. Ducusin

2573 | PROOF of Claim Form For Torture Victims by Jose Corpuz Papa

2574 | PROOF of Claim Form Fer Torture Victims by Jose Elegano Doloroso

2575 |PROOF of Claim Form For Torture Victims by Arnel A. Caravana

2576 |PROOF of Claim Form For Torture Victims by Camilo Rudio Lozama, Deceased by
Medelita M. Lozano

2577 |PROOF of Claim Form For Torture Victims by Eva Gasataga Remulta

2578 (PROOF of Claim Form For Torture Victims by Rey D. Lauron

2579 |PROOF of Claim Form For Torture Victims by Sergia R. Cabarles

2580 |PROOF of Claim Form For Torture Victims by Emelio M. Camano

2581 (PROOF of Claim Form For Torture Victims by Edilberto Federico, Deceased by
Lagrimas E. Federico

2582 PROOF of Claim Form For Torture Victims by Santos Niorastel, Deceased by Editha 8.
Marastel

2583 | PROOF of Claim Form For Torture Victims by Andres Bacsal

2584 PROOF of Claim Form For Torture Victims by Eugenio R, Mereardo

2585 | PROOF of Claim Form For Torture Victims by Julian C. Limbaga, Deceased by Irene
G. Limbaga

2586 PROOF of Claim Form For Torture Victims by Julian C. Limbaga, Deceased by Irene
G. Limbaga

2387 PROOF of Claim Form For Torture Victima by Lagrimas E. Federico

2588 PROOF of Claim Form For Torture Victims by Magdalena H. AMor

2589 (PROOF of Claim Form For Torture Victims by Fe B. Ocasla

2590 PROOF of Claim Form For Torture Victims by Antonio E. Cabasa

2591 PROOF of Claim Form For Torture Victims by Carlos Concepcion Yari

2592 |PROOF of Claim Form For Torture Victims by Esteban C. Mendana, Deceased by Macarig
B. Mendano

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1999
Apr 12 2593 |PROOF of Claim Form For Torture Victims by Eleuterio Cabujat, Deceased by Cresildad

Cabujat

2594 /PROOF of Claim Form For Torture Victims by Gregorio F. Donaire

2595 |PROOF of Claim Form For Torture Victims by Juan B. Saranza, Deceased by Abundo
R. Saranza

2596 PROOF of Claim Form For Torture Victims by Eusebio Maaghop

2597 |PROOF of Claim Form For Torture Victims by Armando T. Osorio

2598 |PROOF of Claim Form For Torture Victims by Arturo A. Bacsal

2599 (PROOF of Claim Form For Torture Victims by Marcelo G. Cabarles, Deceased by
Marianita C. Cabarles

2600 PROOF of Claim Form For Torture Victims by Quirino B. Guerrero

2601 (PROOF of Claim Form For Torture Victims by Leonardo G, Cabangunay

2602 PROOF of Claim Form For Torture Victims by Donoteo Dabandan

2603 |PROOF of Claim Form For Torture Victims by Nenita Tolentino Gonzaga

2604 (PROOF of Claim Form For Torture Victims by Jabnir Domasig

2605 |PROOF of Claim Form For Torture Victims by Cresencio A. Cabarles, Jr.

2606 |PROOF of Claim Form For Torture Victims by Maximo A. Dy

2607 | PROOF of Claim Form For Torture Victims by Ruben B. Aspiras

2608 |PROOF of Claim Form For Torture Victims by Zenaida M. Castroverde

2609 |PROOF of Claim Form For Torture Victims by Demey C. Sabandal

2610 |PROOF of Claim Form For Torture Victims by Gil Arcega

2611 |PROOF of Claim Form For Torture Victims by Ernesto A. Labzo

2612 (PROOF of Claim Form For Torture Victims by Milagros Mila Salido

2613 (PROOF of Claim Form For Torture Victims by Jose D, Borja, Deceased by Conrado A.
Borja

2614 |PROOF of Claim Form For Torture Victims by Edison 8. Tayas

2615 (PROOF of Claim Form For Torture Victims by Eugene §. Acenas

2616 |PROOF of Claim Form For Torture Victims by Cesar N. Carlos

2617 PROOF of Claim Form For Torture Victims by Alberto G. Cabasa

2618 |PROOF of Claim Form For Torture Victims by Filomino Abigan, Deceased by Reynaldo
Abigan

2619 |PROOF of Claim Form For Torture Victims by Ernesto Abang

2620 |PROOF of Claim Form For Torture Victims by Ricardo A. Santolorin

2621 (PROOF of Claim Form For Torture Victims by Ricardo A. Santolorin

2622 |PROOF of Claim Form For Torture Victims by Florencio Daniel, Deceased by Bebiana
Daniel

2623 PROOF of Claim Form For Torture Victims by Rosario Leocadio

2624 |PROOF of Claim Form For Torture Victims by Anthony E. Yuvienco

2625 |PROOF of Claim Form For Torture Victims by Anthony E. Yuvuance

2626 |PROOF of Claim Form For Torture Victims by Macario 8B, Calima, Deceased by Ester
Calma

2627 PROOF of Claim Form For Torture Victims by Crile B. Solano

2628 |PROOF of Claim Form For Torture Victims by Elmer Copones

2629 |PROOF of Claim Form For Torture Victims by Estelita T. Milaflor

2630 /PROOF of Claim Form For Torture Victims by Emmanuel Villafante Elarcosa

2631 |PROOF of Claim Form Fer Torture Victims by Vicente Miraflor, Deceased by Estilita
Miraflor

2632 PROOF of Claim Form For Torture Victims by Euvlogio C. Miraflor, Deceased by Esteli
Miraflor

2633 PROOF of Claim Form For Torture Victims by Lilio L. Cabansan

2634 |PROOF of Claim Form For Torture Victims by Pablite B. Lumagbas

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Apr 12 | 2635 | PROOF of Claim Form Por Torture
2636 | PROOF of Claim Form For Torture
2637 | PROOF of Claim Form For Torture
2638 | PROOF of Claim Form For Torture
2639 | PROOF of Claim Form For Torture
2640 | PROOF of Claim Form For Torture
2641 ; PROOF of Claim Form For Torture
2642 | PROOF of Claim Form For Torture
Angeles E. Ramos
2643 | PROOF of Claim Form For Torture
Cecilia Cabuello
2644 | PROOF of Claim Form For Torture
2645 | PROOF of Claim Form For Torture
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2650 | PROOF of Claim Form For Torture
. Miraflor
2651 | PROOF of Claim Form For Torture
2652 | PROOF of Claim Form For Torture
M. Gabelite
2653 | PROOF of Claim Form For Torture
2654 PROOF of Claim Form For Torture
2655 | PROOF of Claim Form For Torture
2656 | PROOF of Claim Form For Torture
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2658 | PROOF of Claim Form For Torture
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2661 | PROOF of Claim Form For Torture
2662 | PROOF of Claim Form For Torture
Laganzo
2663 | PROOF of Claim Form For Torture
2664 | PROOF of Claim Form For Torture
( 2665 | PROOF of Claim Form For Torture
| 2666 PROOF of Claim Form For Torture
2667 | PROOF of Claim Form For Torture
2668 | PROOF of Claim Form For Torture
2669 | PROOF of Claim Form For Torture
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2672 | PROOF of Claim Form For Torture
2673 | PROOF of Claim Form For Torture
2674 | PROOF of Claim Form For Torture
2675 | PROOF of Claim Form For Torture
2676 | PROOF of Claim Form For Torture
Lourdes L. Novida
' 2677 | PROOF of Claim Form For Torture
2678 | PROOF of Claim Form For Torture
See Page 117

Serafin A. Esperas

Feliciano M. Adriano, Jr.

Rene Atablanco

Elena P. Basal

Donato C. Abalos

Mantel P. Basal

Santiago G. Acosta

Ricardo F, Ramos, Sr, Deceased by

Alejandro Cabuello, Deceased by

Nicasio Yulo

Gerundio Fanganoron Ilao
Domingo Daciag Bacsal, Jr.
Rosita A. Dacaymat

Arcadio §. Calubid
Cerilo Sablawon
Antonio Miraflor, Deceased by Estelita

Jime Miraflor
Pablo Gabelite, Deceased by Victoria

Marcelino P. Nadonza

Zoilo ¢. Mendano

Mario A. Hernandez

Cipreano M. Lanutan, Sr.

Romeo D. Varela

Justine M. Milanio

Nelia Sancho Liao

Ricardo Dilima

Alfredo Quilapio

Casiano Laganzo,Deceased by Carlito

Juanide §. Dagadas
Feliciana €. Olalia
Laurentine Lacao Paz
Manuel M. Capones

Manuel G. Dy

Alvie Baisac Abella
Emilia L. Carreon

Ernesto A. Domingo
Ernesto C. Cadano
Celestino P, Rim

Paz Castronuevo-Talam
Marcelino M. Talam, Jr.
Mauricio Villacorta Corpuz
Bernardo Novida, Sr., Deceased by

Meliton Docot
Danilo A. Manalo

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CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

IN RE: ESTATE

OF FERDINAND E. MARCOS

HUMAN RIGHTS LITIGATION ,

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GATE NR. PROCEEDINGS
1999
Apr 12 | 2679! PROOF of Claim Form For Torture Victims by Dominador T. Montera

2680 | PROOF of Claim Form For Torture Victims by Henry Genobela

2681 PROOF of Claim Form For Torture Victims by Victorio Fruto, Jr.

2682 PROOF of Claim Form For Torture Victims by Gabriel Flores Hequin

2683 | PROOF of Claim Form For Torture Victims by Alfonso B. Bedonia, Jr.

2684 | PROOF of Claim Form For Torture Victims by Bacalso B. Alfredo

2685 | PROOF of Claim Form For Torture Victims by Rufino A. Magdami

2686 | PROOF of Claim Form For Torture Victims by Eduardo A. Magdami

2687 PROOF of Claim Form For Torture Victims by Rodrige C. Labong

2688 PROOF of Claim Form For Torture Victims by Martino A. Amor

2689 | PROOF of Claim Form For Terture Victims by Roque Pacuan, Deceased by Albina Dacca

2690 | PROOF of Claim Form For Torture Victims by Antonio Borea

2691 | PROOF of Claim Form For Torture Victims by Melecio Dacallos

2692 | PROOF of Claim Form For Torture Victims by Angel Acasla

2693 | PROOF of Claim Form Fer Torture Victims by Maximo Tablatin, Jr.

2694 PROOF of Claim Form For Torture Victims by Amancio Bacuetes

2695 | PROOF of Claim Form For Torture Victime by Tomas Agote, Deceased by Inocencia
Agote Trangia

2696 PROOF of Claim Form For Torture Victims by Erlene Gadiano Dangay

2697 | PROOF of Claim Form For Torture Victims by Jesus M. Suplico, Deceased by Hermenia
Suplico

2698 PROOF of Claim Form For Torture Victims by Leonicio B. Evasco, Jr.

2699 | PROOF of Claim Form For Torture Victims by Rustico C. Cutanda

2700 | PROOF of Claim Form For Torture Victims by Rolando M. Diones, Deceased by Cynthia
B. Diones

2701 | PROOF of Claim Form For Torture Victims by Edmundo Ronco, Sr.

2702 | PROOF of Claim Form For Torture Victims by Salvador 8. Avenas, Deceased by
Consuelo V. Acenas

2703 | PROOF of Claim Form For Torture Victims by Loreto Balde

2704 PROOF of Claim Form For Torture Victims by Roque Villegas, Deceased by Myrna L.
Ancheta

2705 | PROOF of Claim Form For Torture Victims by Dionicia B. Villegas

2706 | PROOF of Claim Form For Torture Victims by Teresita Pagulayan

2707 | PROOF of Claim Form For Torture Victims by Luzviminda M. Sarmiento-Mercado

2708! PROOF of Claim Form For Torture Victims by Oscar &. Gatanela

2709; PROOF of Claim Form For Torture Victims by Dolores Bagul Bagul

2710 | PROOF of Claim Form For Torture Victims by Florida P. Alonsagay

2711; PROOF of Claim Form For Torture Victims by Dennis C. Canas

2712) PROOF of Claim Form For Torture Victims by Tomas J. Remulta, III

2713 | PROOF of Claim Form For Torture Victims by Corona D. Belleza

2714; PROOF of Claim Form For Torture Victims by Corona D. Belleza

2715; PROOF of Claim Form For Torture Victims by Eugenio A. Demigillo, Jr.

2716; PROOF of Claim Form For Torture Victims by Corona D. Billeza

2717; PROOF of Claim Form For Torture Victims by Redempto B. Paderanga

2718| PROOF of Claim Form For Torture Victims by Pecasio Cunanan

2719; PROOF of Claim Form For Torture Victims by Vicente P. Ladlad

2720) PROOF of Claim Form For Torture Victims by Wilfredo V. Sibayan

2721) PROOF of Claim Form For Torture Victims by Melanie D. Chan

2722 PROOF of Claim Form For Torture Victims by Romeo I. Chan

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Rev, 1:78) PagelD.31
CIVIL DOCKET CONTINUATION SHEET
BLAINTIFE T SEFERDANT

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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION | pocket No; MDL 840 _

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DATE NR. | PROCEEDINGS
1999 |
Apr 12 : 2723 | PROOF of Claim Form For Torture Victims by Antonio Jose B. Bantillan
| 2724 | PROOF of Claim Form For Torture Victims by Gil D. Rocacorba
1 2725 | PROOF of Claim Form For Torture Victims by Abundio Lim Amante
2726 | PROOF of Claim Form For Torture Victims by Bonifacio Enriquez, Deceased by Danny

2727 | PROOF of Claim Form For Torture Victims by Remigio R. Bucud, Deceased by Angelina
D. Bucud

2728 | PROOF of Claim Form For Torture Victims by Reynaldo L. Isip

2729 | PROOF of Claim Form For Torture Victims by Virginia Carecallas Palmero

2730 | PROOF of Claim Form For Torture Victims by Rodolfo Norona Togle

| 2731 | PROOF of Claim Form For Torture Victims by Efren Rivas Ahon

| 2732 | PROOF of Claim Form For Torture Victims by Danilo D. Tampas

|

|
Cc. Enriquez
|

| 2733 PROOF of Claim Form For Torture Victims by Jessica Verances Agudera
| 2734 | PROOF of Claim Form For Torture Victims by ALma Bella C. Apor

| 2735 | PROOF of Claim Form For Torture Victims by Marteciano M. Magadan

| 2736 | PROOF of Claim Form For Torture Victims by Rock C. Reazon

2737 | PROOF of Claim Form For Torture Victims by Virgilio M. Mendones
2738 | PROOF of Claim Form For Torture Victims by Jose Roy Apable

‘2739 | PROOF of Claim Form For Torture Victime by Guillermo Asuncion

2740 | PROOF of Claim Form For Torture Victims by Elena c, Segarra

2741 | PROOF of Claim Form For Torture Victime by Romeo Rellama

2742 | PROOF of Claim Form for Torture Victims by Eduardo B. Bansuela

2743 | PROOF of Claim Form For Torture Victime by Reynaldo K. Esteban

2744 | PROOF of Claim Form For Torture Victims by Milagros Ragos Espinas
2745 | PROOF of Claim Form For Torture Victima by COrazon Serenio

2746 | PROOF of Claim Form For Torture Victims by Jovita Q. Agudera

| 2747; PROOF of Claim Form For Torture Victims by Alejandro D. Belone

2748 | PROOF of Claim Form For Torture Victims by Samson Cortez Rivera
2749 | PROOF of Claim Form For Torture Victims by Albert Dy Umali

2750 | PROOF of Claim Form For Torture Victims by George P. Gil

2751) PROGF of Claim Form For Terture Victime by Medine V. Turqueza

2752 | PROOF of Claim Form For Torture Victima by Edgar To-Ong

2753 | PROOF of Claim Form For Torture Victims by Ramon Segarra

2754 | PROOF of Claim Form For Torture Victims by Virgelio B. Corpuz, Deceased by
Aurora B. Corpuz

| 2755 | PROOF of Claim Form For Torture Victims by Jovencio B. Corpuz

2756 PROOF of Claim Form For Torture Victims by Ricardo Malabad

2757 | PROOF of Claim Form For Torture Victims by Juan D. Deborde

| 2758; PROOF of Claim Form For Torture Victims by Eduardo P, Bayoneta

2759 | PROOF of Claim Form For Torture Victims by Porfirio C, Cruz, Deceased by Amelia
S.J. Cruz

2760 | PROOF of Claim Form For Torture Victims by Agapito M. Cruz

2761) PROOF of Claim Form For Torture Victims by Arecadio R. Sese, Deceased by Lazaro
A. Sese

2762 | PROOF of Claim Form For Torture Victims by Oscar Padilla

2763 | PROOF of Claim Form For Torture Victima by Samuel M. Clemente

2764; PROOF of Claim Form For Torture Victims by Jovencia Ragudo

2765 | PROOF of Claim Form For Torture Victims by Joel Cobarrubas Lamangan
2766 | PROOF of Claim Form For Torture Victims by Bonifacio E. Perez

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE: ESTATE

DEFENDANT

OF FERDINAND E, MARCOS) HUMAN RIGHTS LITIGATION
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PAGE 1] % Fr PAGES
DATE | NR PROCEEDINGS
19995
Apr 12 2767 PROOF of Claim Form For Torture Victims by Rady J. Ngan

2768 PROOF of Claim Form For Torture Victims by Wilfredo Cuanan

2769 PROOF of Claim Form For Torture Victims by Marcelina R. Perez

2770 | PROOF of Claim Form For Torture Victims by Edgardo U. Perina

2771 | PROOF of Claim Form For Torture Victims by Manuel L. Segarra

2772 PROOF of Claim Form For Torture Victims by Jovelyn Fuerte

2773 | PROOF of Claim Form For Torture Victims by Stella Dalire Pacursa

2774 | PROOF of Claim Form For Torture Victims by Alfredo R. Custodio, Deceased by
Basilio L. Custodio

2775 PROOF of Claim Form For Torture Victims by Ambrocio N. Sagarra

2776 | PROOF of Claim Form For Torture Victims by Erlinda Turqueza

2777 | PROOF of Claim Form For Torture Victims by Oscar R. Armea

2778 | PROOF of Claim Form For Torture Victims by Goido M. Cunan

2779 PROOF of Claim Form For Torture Victims by Ernesto Oblea

2780 | PROOF of Claim Form For Torture Victims by Kusain Malilin

2781) PROOF of Claim Form For Torture Victims by Efren A. Torio

2782, PROOF of Claim Form For Torture Victims by Vicente de Asis Sabornay

2783 | PROOF of Claim Form For Torture Victims by Hernando C. del Rosario

2784 | PROOF of Claim Form For Torture Victims by Monico Padilla, Deceased by Oscar
Padilla

2785 | PROOF of Claim Form For Torture Victims by Romeo P. Trajano

2786 | PROOF of Claim Form For Torture Victims by Amador A. Abad, Sr.

2787) PROOF of Claim Form For Torture Victims by Agnes Costales Rio

2788! PROOF of Claim Form For Torture Victims by Rebecca P. Bandong

2789 PROOF of Claim Form For Torture Victims by Orville B. Pineda

2790 | PROOF of Claim Form For Torture Victims by Toribio C. Cajiuat

2791/ PROOF of Claim Form For Torture Victims by Rolando Lapore Salutin

2792 | PROOF of Claim Form For Torture Victims by Romeo Tagala

2793 PROOF of Claim Form For Torture Victims by Mario P. Suson

2794; PROOF of Claim Form For Torture Victims by Rafael Dilima

2795 | PROOF of Claim Form For Torture Victims by Bonifacio Dilima, Sr.

2796 | PROOF of Claim Form For Torture Victims by Danilo M. Monte

2797) PROOF of Claim Form For Torture Victims by Reynaldo P. Nacario

2798} PROOF of Claim Form For Torture Victims by Tony Olido

2799 PROOF of Claim Form For Torture Victims by Rogelio R. Regondola

2800; PROOF of Claim Form For Torture Victims by Rafael Balmori Gaerlan, Sr.

2801| PROOF of Claim Form For Torture Victims by Thomas D. Sobrepena

2802 | PROOF of Claim Form For Torture Victims by Salvador N. Segarra

2803) PROOF of Claim Form For Torture Victims by Orlando N. Segarra

2804 | PROOF of Claim Form For Torture Victims by AUgusto N. Segarra

2805 | PROOF of Claim Form For Torture Victims by Camilo Vilog

2806) PROOF of Claim Form For Torture Victims by Pedro F. Falco

2807, PROOF of Claim Form For Torture Victims by Manuel A. Palangre

2808; PROOF of Claim Form For Torture Victims by Ruperto B. Manolid, Deceased by Perla
B. Manolid

2809/ PROOF of Claim Form For Torture Victims by Santiago P. Alonzo

2810| PROOF of Claim Form For Torture Victims by Nomeriano Mallari

2811) PROOF of Claim Form For Torture Victims by Apolonio M. Angeles

2812, PROOF of Claim Form For Torture Victims by Narciso E. Lacandola

2813| PROOF of Claim Form For Torture Victims by Francisco C. Ignacio

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
| _ DocKkET No, MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION
| pace 1200F_ paces
DATE NR. | PROCEEDINGS
i999
Apr T2 | 2814 PROOF of Claim Form For Torture Victins by Salvador Pineda
2815 | PROOF of Claim Form For Torture Victims by Jul A. Anjalal
2816 | PROOF of Claim Form For Torture Victims by Joaquin B. Descartin
2817 | PROOF of Claim Form For Torture Victims by Conrado V. Jablos
2818 PROOF of Claim Form For Torture Victims by Patrick I. Patino
2819 | PROOF of Claim Form For Torture Victims by Jesus Camacho, Deceased by Gloria M.
Camacho
2820 | PROOF of Claim Form For Torture Victims by Alfredo C. Bunyi
2821 PROOF of Claim Form For Torture Victims by Gemeniano A. Gualberto, Jr., Deceased by
Guadalupe B. Gualberto
2822 | PROOF of Claim Form For Torture Victims by Edison Tayas
2823 | PROOF of Claim Form For Torture Victims by Carlos §. Bolito
2824 PROOF of Claim Form For Torture Victims by Niall Crowley O'Brien
2825 | PROOF of Claim Form For Torture Victims by Milagros Lumabi Echanis
2826 PROOF of Claim Form For Torture Victims by Ruben S. Vezuz
2827 | PROOF of Claim Form For Torture Victims by Antonio Bandola
2828 | PROOF of Claim Form For Torture Victims by Jose Jobel J. Marita, Deceased by
Elena Marita
.2829 | PROOF of Claim Form For Torture Victims by Sampao P. Kasuyo
2830 PROOF of Claim Form For Torture Victims by Francisco T. Mercado
2831 | PROOF of Claim Form For Disappearance Victims by Jaime Gabac by Gloria Gabae
2832 | PROOF of Claim Form For Disappearance Victims by Romeo Delas Llagas Cabrera by
Dolores LL. Cabrera
2833 | PROOF of Claim Form For Disappearance Victims by Jose Marie T. Faustino by
Bienvenido P. Faustino
2834 | PROOF of Claim Form For Disappearance Victims by Rolan (Levi) Y. Ybanez by
Luis H. Ybanez
2835 | PROOF of Claim Form For Disappearance Victims by Hermon C. Lagman by Cecilia
Cc. Lagman
2836 | PROOF of Claim Form For Disappearance Victims by Simon E. Adoptante by Felisa
Adoptante
2837 | PROOF of Claim Form For Disappearance Victims by Simon E. Adoptante by Felisa
Adoptante
2838 | PROOF of Claim Form For Disappearance Victims by Antonio M. Neri
2839 | PROOF of Claim Form For Disappearance Victims by Roger N. Jumawid by Antonio M.
Neri
2840 | PROOF of Claim Form For Disappearance Victims by Sammy Bucog by Felix D. Edulan
2841 | PROOF of Claim Form For Disappearance Victims by Jorey Manguray by Antonio M. Ner
2842 | PROOF of Claim Form For Disappearance Victims by Eddie Asabet by Antonio M. Neri
2843 | PROOF of Claim Form For Disappearance Victims by Rene Magdadaro by Antonio M. Neri
2844 | PROOF of Claim Form For Disappearance Victims by Maxemio Lambayan by Antonio M.
Neri
2845 | PROOF of Claim Form For Disappearance Victims by Benjamin Belmin by Guadalupe
Bilmen
2846 PROOF of Claim Form For Disappearance Victims by Isidre R. Manalo, Sr. by Corazon
A. Manalo
2847 | PROOF of Claim Form For Disappearance Victims by Ruben Maguiniana by Ruben
Maguiniana
2848 | PROOF of Claim Form For Disappearance Victims by Toribio Colagong by Teresita
Colagong
2849 | PROOF of Claim Form For Disappearance Victims by Conrado (Paul) Pai by Alijandra
P. Pal
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